                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:11-cr-27
 v.                                                    )
                                                       )       MATTICE / LEE
 WESTLEY ELLIS                                         )

                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the sixteen-count

 Superseding Indictment (2) accept Defendant’s plea of guilty to the lesser offense of the charge in

 Count One of the Superseding Indictment, that is of conspiracy to distribute 28 grams or more of a

 mixture and substance containing a detectable amount of cocaine base (“crack”), a Schedule II

 controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B); (3) adjudicate

 Defendant guilty of the lesser offense of the charge in Count One of the Superseding Indictment, that

 is of conspiracy to distribute 28 grams or more of a mixture and substance containing a detectable

 amount of cocaine base (“crack”), a Schedule II controlled substance, in violation of 21 U.S.C.

 §§ 846, 841(a)(1) and 841(b)(1)(B); (4) defer a decision on whether to accept the plea agreement

 until sentencing; and (5) find defendant shall remain in custody until sentencing in this matter [Doc.

 87]. Neither party filed a timely objection to the report and recommendation. After reviewing the

 record, the Court agrees with the magistrate judge’s report and recommendation. Accordingly, the

 Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation [Doc. 87]

 pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Superseding

                Indictment is GRANTED;



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       (2)   Defendant’s plea of guilty to the lesser offense of the charge in Count One of the

             Superseding Indictment, that is of conspiracy to distribute 28 grams or more of a

             mixture and substance containing a detectable amount of cocaine base (“crack”), a

             Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1) and

             841(b)(1)(B) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in Count

             One of the Superseding Indictment, that is of conspiracy to distribute 28 grams or

             more of a mixture and substance containing a detectable amount of cocaine base

             (“crack”), a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846,

             841(a)(1) and 841(b)(1)(B);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Monday, October 17, 2011 at 2:00 p.m. before the

             Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:



                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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